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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

LUCASYS INC.,
                                            Civil Action No.:
                     Plaintiff,

POWERPLAN, INC.,                            JURY TRIAL DEMANDED


                     Defendant.



                                  COMPLAINT

      Plaintiff Lucasys Inc. alleges as follows upon actual knowledge with

respect to itself and its own acts and upon information and belief as to all other

matters.

                          NATURE OF THE ACTION

      Defendant PowerPlan is a monopolist with 99% share in the market for

utility management software for investor-owned rate-regulated utilities.

Substantially all such utilities require such software to track their costs,

assets, taxes, and other data that is critical for their operations, accounting,

compliance, taxes, and, ultimately, to determine the rates the utility may

charge to ratepayers. PowerPlan has dominated this market since launching

its once-state-of-the-art software in 1994, and it has no meaningful competition



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since it acquired its only competitor in 2008. Its legacy software framework is

largely unchanged over many years, but it continues to dominate the market

because the extreme switching costs, among other factors, effectively lock-in

utility customers.

      This is a classic monopoly case involving a company with clear monopoly

power resting comfortably on its laurels, complacent from lack of competition

on price, quality, innovation, or customer service. When the monopolist

perceives a nascent competitor as a threat, the monopolist abuses its monopoly

power to maintain its dominance rather than compete on the merits.

      PowerPlan is that monopolist, still selling the same core legacy utility

management software it built in 1994 to rate-regulated utilities today. Its

software is expensive, inflexible, unnecessarily complicated, and because it

does not adapt to the changing requirements of rate-regulated utilities, it can

no longer perform some functions for which a rate-regulated utility needs

software in the first place. Given a niche customer base that is locked in by

extreme switching costs, PowerPlan has largely been insulated from

competition even though its customers overwhelmingly hold a negative view of

PowerPlan and its software.

      Utilities regularly pay six- to seven-figure data consulting costs every

three to five years just to make their data in PowerPlan useable, and then they

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use it outside of PowerPlan to perform these basic but fundamentally

important functions. But when data consulting firms sought to provide longer-

term technological solutions for their PowerPlan customers, PowerPlan saw

them as budding threats. It then used its monopoly power to try to exclude

them from the market, selectively claiming the exclusive right to utilities’ data,

making sham legal threats, and ultimately coercing its locked-in utility

customers not to do business with those potential competitors.

      Lucasys is one such nascent competitor. It is a tax consulting and

software development company established in 2018 to provide deferred tax

solutions for rate-regulated utilities. PowerPlan coerced multiple customers to

terminate or reduce the scope of their contracts with Lucasys, which is

crippling Lucasys’ ability to develop modern and comprehensive solutions to

its customers’ PowerPlan-induced problems.

      PowerPlan abused its monopoly power to exclude competitors from the

market by a series of actions that amount to tying, exclusive dealing, and

refusal to supply. This conduct violates Section 2 of the Sherman Act. In doing

so, PowerPlan coerced the agreement of customers, so its conduct also violates

Section 1 of the Sherman Act. PowerPlan’s anticompetitive campaign against

Lucasys, among others, also violates various state laws.



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      To remedy PowerPlan’s illegal conduct, Lucasys seeks trebled damages

of at least $47 million and other relief.

                        JURISDICTION AND VENUE

      1.      This Court has primary subject-matter jurisdiction over this action

under 28 U.S.C. §§ 1331 and 1337(a), and Sections 4 and 16 of the Clayton Act,

15 U.S.C. §§ 15, 26 because this action arises under the antitrust laws of the

United States.

      2.      This Court has supplemental jurisdiction over the state law claims

of the complaint under 28 U.S.C. § 1367 because they arise from the same

nucleus of operative facts as the federal claims such that they form part of the

same case or controversy.

      3.      PowerPlan, Inc. is a Delaware corporation with its principal place

of business at 300 Galleria Parkway, Suite 2100, Atlanta, Georgia 30339.

PowerPlan may be served via its registered agent, Corporation Service

Company, 40 Technology Parkway South, Suite 300, Norcross, Georgia 30092.

PowerPlan is subject to personal jurisdiction in the State of Georgia under

O.C.G.A. § 9-10-91(1) and (2) because it resides in Georgia, transacts business

in Georgia, and committed tortious acts in Georgia.




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      4.      Venue is proper in the Northern District of Georgia under 28

U.S.C. § 1391(b) and 15 U.S.C. §§ 15, 22 because PowerPlan resides in this

district and can be found in this district.

                                   PARTIES

      5.      Plaintiff Lucasys Inc. is a small, start-up tax consulting and

software development company that provides data consulting and deferred tax

solutions to regulated utilities, including assisting those utilities with using

the utilities’ own data. Lucasys’ principal place of business is in Cumming,

Georgia.

      6.      Defendant PowerPlan, Inc. is the leading provider of utility

management software for investor-owned rate-regulated utilities. PowerPlan’s

principal place of business is in Atlanta, Georgia. According to PowerPlan, 99%

of investor-owned utilities in the United States use its software. PowerPlan is

owned by Roper Technologies, a $42 billion publicly traded company.

                       SUBSTANTIVE ALLEGATIONS

 PowerPlan Develops a Monopoly for Utility Management Software

      7.      To assist with management of their operations, nearly all investor-

owned, rate-regulated utilities use software systems purpose-built for the

industry, i.e. “Utility Management Software.” Utility Management Software

allows utilities to store, access, analyze, and compute their data for various

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operational, accounting, regulatory, and tax purposes related to fixed assets—

many of which are unique to the industry—vital to the utilities’ regulatory

compliance and, ultimately, their bottom lines.

      8.      PowerPlan’s software is built as a single application and

centralized database with different “modules” or “suites” available to

customers for specific functions. Over time, PowerPlan has added modules to

the software, which customers can separately license. When customers log in

to the application, they can access their purchased modules from a horizontal

toolbar at the top of the application window, allowing them to perform certain

tasks related to their data.

      9.      For example, PowerPlan offers three income tax related modules:

PowerTax, Provision, and Tax Repairs as part of its “Income Tax Suite.”

PowerTax is supposed to allow utility customers to compute tax depreciation

and deferred income taxes from their underlying data.

      10.     Other PowerPlan suites comprise modules for property tax, lease

accounting,     fixed   assets,   rate   case   management,   asset   investment

optimization, capital planning and forecasting, and project portfolio cost

management.

      11.     In 1994, PowerPlan’s software had an early-mover advantage.

PowerPlan quickly dominated the market as utility after utility began using

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its Utility Management Software. By the late 2000s, after it acquired its only

competitor, PowerPlan was the only company offering Utility Management

Software and became a true monopolist.

      12.    Today, 99% of investor-owned, rate-regulated utilities use

PowerPlan’s Utility Management Software, which remains the only full-suite

product available in the market. The other 1% is comprised of small utilities

that make do without Utility Management Software, generally by using other

accounting systems and professional services to perform manual calculations.

Larger utilities—which make up almost the entire market—must use Utility

Management Software because of the scale and complexity of their data.

      PowerPlan Stops Innovating and Consultants Fill Gaps in

                          PowerPlan’s Software

      13.    Having achieved its monopoly, PowerPlan, like many monopolists,

stopped innovating to meet its customers evolving needs. Accordingly,

PowerPlan’s Utility Management Software cannot perform some core functions

that utilities require.

      14.    This is because (1) PowerPlan’s legacy software is built on an

outdated coding language, and (2) PowerPlan has had little incentive to update

its software because its customers have no other option for Utility

Management Software, which they must purchase.

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      15.   To perform core functions beyond the capabilities of PowerPlan’s

Utility Management Software, utilities must hire consultants to write custom

code extensions, provide data-consulting services, and integrate their

PowerPlan data with other applications, among other tasks. Typically, utilities

require these services every three to five years, costing them hundreds of

thousands or even millions of dollars.

      16.   Accordingly, by the early 2010s, the gaps in PowerPlan’s utility

management software had spawned a related market in which consultants

provide these “Supplemental Management Services.”

      17.   Lucasys, several third parties, and PowerPlan itself offer

Supplemental Management Services. When these services are required, a

utility will frequently issue a request for proposal seeking bids from multiple

consultants and hire the consultant that submits the most competitive bid.

Utilities judge bids based on various factors, including the expertise and track

records of the consultants, the services offered, and the overall price or value.

      18.   PowerPlan is largely content with the existence of the

Supplemental Management Service market even though PowerPlan lacks a

monopoly in it, for at least two reasons. First, PowerPlan derives additional

revenue by providing Supplemental Management Services over and above the

fees it charges customers for use of its Utility Management Software. Second,

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the availability of Supplemental Management Services reduces pressure on

PowerPlan to invest substantial money into updating its Utility Management

Software to meet all its customers’ needs. And the band-aid that is the

Supplemental Management Services market reduces the urgency for

customers to demand either improvements from PowerPlan or entry of a new

competitor into the Utility Management Software market.

   Tax Code Changes Require Supplemental Management Services

      19.    As utilities’ needs evolve—but PowerPlan’s software remains

mostly static—new Supplemental Management Services are needed. One

crucial area where PowerPlan’s Utility Management Software fails to meet

utilities’ needs is related to tax fixed assets and deferred taxes, which in turn

affect the utilities’ rates.

      20.    Under traditional rate regulation, utilities are permitted to charge

rates to recover their costs of providing service plus a reasonable rate of return.

To gain approval of their rates, utilities submit rate cases to the regulators of

their jurisdictions, which are determined by a formula that calculates a

revenue requirement based on data points including investor-supplied capital,

the authorized rate of return, and operating costs. Rates for different types of

ratepayers are then derived from the revenue requirement.



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      21.   The Tax Cuts and Jobs Act of 2017—the first major federal tax

reform legislation since 1986—made changes to the tax code with significant

tax and rate-case implications for investor-owned utilities. The tax code

changes that became effective in 2018 decreased the tax rate for utilities from

a maximum of 35% to a flat 21% and resulted in a reduction of “Accumulated

Deferred Income Tax Liabilities and Assets” on their books. Because utilities

are typically rate-regulated on a cost-plus-reasonable-rate-of-return basis as

described above, they must share beneficial income tax changes with

ratepayers based on complicated state and federal rules unique to rate-

regulated utilities which, in many cases, vary by jurisdiction and are

constantly subject to change.

      22.   In fact, many jurisdictions issued orders directing utilities to

calculate the effects of the 2018 tax reforms on existing rates or tariffs,

including differences caused by the income tax rate reduction and the effect of

deferred taxes. Jurisdictions have required individual utilities to return

previously accumulated excess deferred tax benefits back to ratepayers using

a variety of amortization methodologies. The required amortization

methodologies are applied to various components of deferred taxes based on

utilities’ and commissions’ interpretations of the tax law, and the subsequent

facts, circumstances, and negotiations relevant to each utility. The evolving

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interpretations and jurisdictional application of legislative requirements have

created a complex and dynamic regulatory and compliance environment.

         23.   PowerPlan’s legacy software does not provide an adequate solution

to this tax and ratemaking problem. Indeed, it does not afford utilities the

ability to configure and implement the new amortization requirements because

it was built for a static, pre-2017 version of the tax code that predated

PowerPlan. And because it is based on an archaic coding language,

PowerPlan’s Utility Management Software does not even manage the utilities’

data such that it can simply be exported to make the calculations elsewhere.

         24.   Instead, to even use their PowerPlan-based data for the types of

calculations that must be done to account for the new tax code changes, utilities

must obtain Supplemental Management Services to assess data quality,

completeness, and accuracy, and then cleanse and remediate the data to make

it usable, i.e. “Deferred Tax Solutions.”

         25.   Lucasys,   along   with   one   other   firm,   Regulated   Capital

Consultants, are PowerPlan’s primary competitors providing these Deferred

Tax Solutions, though there are also a few individuals who are former

PowerPlan employees that provide such consulting services on some limited

basis.



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      26.   As in the Supplemental Management Services market in general,

PowerPlan has been content competing with other consultants to provide

Deferred Tax Solutions.

     Lucasys Disrupts the Status Quo by Offering New Software

      27.   Lucasys was founded in 2018 by Vadim Lantukh, who was

previously employed by PowerPlan but left in 2013. Daniel Chang and Stephen

Strang joined Lucasys as co-founders in 2019 and were also previously

employed by PowerPlan but left in 2014 and 2015, respectively. Before working

at Lucasys, each worked for employers other than PowerPlan where they

obtained additional experience in software development, business consulting,

and tax advising. Lucasys provides subject-matter expertise to utility

customers to help with their data issues, primarily for the purpose of

facilitating the computation of deferred tax obligations and changes based on

the new tax code.

      28.   Lucasys was founded not only to provide Deferred Tax Solutions,

but also to provide long-term solutions to replace the need for consultants with

software. No other existing software accounts for the changes required by the

tax code amendments, so Lucasys has identified an underserved market and a

unique solution.



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      29.   Accordingly, Lucasys provides both consulting services and

technological solutions to its customers. Lucasys ultimately expects to largely

replace consulting services with new Software-As-A-Service (SAAS) solutions

that negate the need for manual data assessment, cleansing, and remediation.

      30.   Lucasys has thus far developed three technological solutions.

              a. First, it has developed cloud-based software that makes

deferred tax computations based on the 2018 federal tax changes as applied to

a customer’s data. The software works directly with the customer’s data (not

through PowerPlan’s system) and is rules-driven, which means that it can be

used dynamically to account for future tax changes or the treatment of tax

changes by rate regulators. Existing tools in the market, including PowerPlan’s

PowerTax, are static and do not account for these changes.

              b. Second, Lucasys developed Copilot, which is a business

process automation tool. Copilot allows customers to configure steps to

processes between different data sources (including PowerPlan and utilities’

other financial systems) that can be automated, saving the hundreds of

thousands of dollars a year it would cost to continue performing those tasks

manually.

              c.   Third, Lucasys developed a toolkit that contains several

small applications, including an ARAM calculator, an audit tool for

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computations, a lease payment calculator, and an application that automates

a variety of data-related tasks regularly performed by consultants. These tools

work directly with the customer’s data, not through PowerPlan’s system.

      31.   Absent    PowerPlan’s    anticompetitive    conduct,   Lucasys    is

positioned to begin competing more broadly with PowerPlan in the Utility

Management Software market by identifying customers’ unmet needs relating

to their data and then building solutions that permit customers to use their

data more efficiently and effectively. Eventually, if able to compete without

illegal obstruction, Lucasys would be able to provide utility customers with a

replacement utility management software suite. This would be an alternative

to PowerPlan’s product in the Utility Management Software market.

      32.   Rather than take the traditional software development approach,

Lucasys seeks to identify its clients’ challenges and needs and then create

solutions in the context of its existing engagements, which it can then deploy

more broadly in the market. The power of the engine that underlies Lucasys’

deferred tax tool will, with additional build-out and maturity, eventually allow

it to compete with more PowerPlan modules and ultimately allow utilities to

replace PowerPlan altogether.

      33.   The information, knowledge, and technical skill of Lucasys’

founders and employees is general knowledge about software as well as tax

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and accounting regulations and their effects on the rate-regulated utility

industry; they are not confidential nor subject to any confidentiality

agreement. None of Lucasys’ work entails the use of PowerPlan trade secrets,

and none of its software uses PowerPlan source code, trade secrets, or other

proprietary information.

      34.   When performing work for a customer, Lucasys accesses a

customer’s data using the only available methods, and in the same manner as

its customers, agents, and other service providers, including data accessed

through the PowerPlan software. When accessing the data, Lucasys acts as an

agent of its customer and does so with the customer’s prior and express

authorization. It does not access any source code, trade secrets, or other

proprietary information in doing so.

                  PowerPlan Punishes Nascent Competitors

      35.   PowerPlan learned about Lucasys during a competitive bidding

process for a mutual utility customer, AEP, who uses PowerPlan software and

had been using Lucasys for data consulting services. AEP issued a request for

proposals to Lucasys, PowerPlan, and others to provide a wide scope of

consulting services and technology development, including a major deferred

tax software component. The solution that AEP sought—because PowerPlan’s

software was inadequate and of poor quality—involved building a full software

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suite around taxes and, more specifically, deferred taxes. The software suite

would have replaced and expanded upon an existing PowerPlan module called

PowerTax.

      36.    Both PowerPlan and Lucasys submitted bids, and Lucasys’ bid was

selected for the contract. When PowerPlan discovered that Lucasys had

submitted a competing bid, it sought information from AEP about the

consulting work that it had originally hired Lucasys to perform.

      37.    After learning that Lucasys is developing software in addition to

providing Supplemental Management Services, PowerPlan took steps to quash

the nascent threat to its monopoly in the Utility Management Software

market.

      38.    On October 30, 2019, PowerPlan sent a demand letter to Lucasys

and its co-founders, Mr. Lantukh, Mr. Chang, and Mr. Strang. The letter

asserted—falsely—that they had misappropriated trade secrets obtained

during their employment with PowerPlan several years before. PowerPlan did

not describe those asserted trade secrets with any particularity.

      39.    PowerPlan further asserted that Lucasys was developing a

competing software solution using these vaguely referenced trade secrets.

      40.    PowerPlan’s assertions were, in fact, made in bad faith and solely

as an attempt to block Lucasys from offering or providing its services to utility

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customers because PowerPlan views Lucasys as a competitive threat, as

Lucasys does not limit itself to consulting services; it is building a technology

solution that will—if it is not stopped—threaten PowerPlan’s cozy monopoly

profits.

      41.     PowerPlan demanded that Lucasys and its members cease-and-

desist the alleged use and disclosure of these falsely asserted trade secrets,

return all such information, cease-and-desist efforts to design, develop,

market, and sell Lucasys software unless it could prove it was independently

developed, cease-and-desist consulting for all PowerPlan customers unless it

agreed to cease-and-desist developing competing software, and even to change

its logo and slogan.

      42.     Moreover, PowerPlan, evidencing its anticompetitive intentions

and mode of doing business, proposed an unlawful market-allocation

agreement under which PowerPlan would “be open” to Lucasys competing with

consulting services only if Lucasys agreed to discontinue its software

development.

      43.     In fact, while Lucasys has not misappropriated trade secrets, it has

also not yet developed a software product that could be fully substituted for

PowerPlan’s Utility Management Software. Rather, Lucasys was developing

software that filled gaps in what PowerPlan’s software does: tools focused on

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automating processes and creating better integration and reach from existing

PowerPlan software. Lucasys developed these tools because PowerPlan fails to

provide its customers with a software solution that can address the challenges

of data management, including effects on data presented by the Tax Cuts &

Jobs Act.

     44.    This is not the first time PowerPlan has attempted to prevent

perceived competition by asserting baseless trade secret misappropriation

claims. It made similar threats regarding Regulated Capital Consultants

(RCC), which employs numerous former PowerPlan employees, because it

perceived RCC’s custom code editing and extension coding services as a threat.

It also recently threatened an individual consultant, Doug Johnson.

     45.    Nevertheless, in an act of good faith, Lucasys sought to reassure

PowerPlan that it was not, in fact, developing software based on any

PowerPlan trade secrets. Lucasys provided substantial information to

PowerPlan showing exactly what it was doing and how. Lucasys has neither

used nor misappropriated any PowerPlan trade secrets. Nor does Lucasys need

to utilize any PowerPlan trade secrets to compete in the Supplemental

Management Services market or the Utility Management Software market.

     46.    Without any good-faith basis to embroil Lucasys in trade secret

misappropriation litigation, PowerPlan chose another path: it sought to

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ascertain which customers aside from AEP had hired Lucasys. PowerPlan then

threatened those utility customers not to do business with Lucasys, baselessly

citing contractual confidentiality obligations, asserting the exclusive right to

restrict access to the utilities’ own data, and falsely claiming that Lucasys

misappropriated PowerPlan’s nondescript trade secrets, implicitly threatening

to entangle these customers in litigation. PowerPlan wields a large stick in its

threats because its software performs critical accounting functions for its

customers and, lacking an alternative, the utilities must purchase PowerPlan’s

software. So utilities must take even baseless claims from PowerPlan

seriously, or risk losing their software.

      47.   NextEra. NextEra engaged Lucasys for tax fixed-asset related

services including data remediation, cleansing, and transformation and for the

development and deployment of technology, Lucasys Copilot, which would

allow NextEra to consolidate its non-regulated entities into the PowerPlan

software. Non-regulated entities have different requirements than rate-

regulated utilities, and the PowerPlan software was not capable of meeting the

unique requirements of partnership depreciation and acquisitions of new

assets and entities. As a result, NextEra had maintained its non-regulated

entities in a different system.



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      48.   PowerPlan successfully coerced NextEra to terminate its contract

with Lucasys by falsely claiming that Lucasys misappropriated PowerPlan’s

trade secrets in the course and scope of its work for NextEra and that

PowerPlan had taken legal action against Lucasys (it had not).

      49.   At the time of termination, Lucasys was still completing the

service phase of the contract and had just begun the design phase for the

Copilot implementation. On information and belief, PowerPlan performed the

remaining service work and NextEra was required to forego consolidating its

non-regulated entities into the PowerPlan system as it had desired.

      50.   Liberty Utilities. Liberty Utilities engaged Lucasys to provide

advisory services related to tax-fixed assets and assistance with consolidating

and standardizing tax processes with respect to the global design phase of a

transformation initiative. Lucasys advised Liberty Utilities that it should

implement PowerPlan’s full income tax suite as the only solution available for

their regulated requirements.

      51.   Nonetheless, PowerPlan successfully coerced Liberty Utilities to

terminate its contract with Lucasys even though, before termination, Liberty

Utilities expressed concerns to Lucasys that PowerPlan’s tactics deprived it of

the most efficient and cost-effective provider in the market capable of

completing the project. When Liberty Utilities asked PowerPlan whether

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Liberty Utilities could utilize Lucasys for other tax fixed-asset services in the

future, PowerPlan stated that Liberty Utilities would face legal risk if Lucasys

were to develop a software product that competes with PowerPlan’s products.

      52.   AEP. After PowerPlan initially failed to provide adequate services

for AEP in support of its tax data and processes, AEP engaged Lucasys to

perform data consulting services and support its overall tax return and year-

end provision calculations. These services were an interim solution to the

myriad problems with PowerPlan’s software until such time as AEP could

execute an RFP to replace PowerPlan’s PowerTax module, which could not

meet AEP’s needs.

      53.   In 2019, AEP issued a request for proposals for a project with a

large scope of work for services and technology, including a major tax software

development component: the project involved building a full suite around

taxes, with a specific focus on deferred taxes. Both PowerPlan and Lucasys

submitted bids. AEP selected Lucasys’ bid.

      54.   PowerPlan first threatened AEP regarding its contract with

Lucasys in phone discussions, and AEP asked PowerPlan to make its vague

statements about impropriety by Lucasys in writing and with specificity.

PowerPlan instead sent a letter demanding AEP restrict access to AEP’s

systems and data based on its view that Lucasys might appropriate

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proprietary information and develop competitive solutions. As explained in

Paragraphs 33–34, this is baseless because neither Lucasys nor any other

customer or third party can obtain proprietary information simply by accessing

customer data through PowerPlan’s software. Nevertheless, AEP ultimately

delayed execution of the contract, stating that it would need to resolve its legal

discussion with PowerPlan before starting work with Lucasys. Although AEP

did not terminate its relationship with Lucasys, PowerPlan successfully

coerced AEP to delay the technology component of the project by at least 12

months and narrow the scope of Lucasys’ contract to services only.

      55.   PowerPlan has attempted, thus far without success, to coerce

another customer to terminate its contract with Lucasys, which covers project

management and services relating to upstream asset accounting and

processes, with some work involving deferred tax processes. The customer has

shared its position that: (1) it owns its data and can hire whoever it wants to

access it; (2) it would suffer substantial harm if it could not provide Lucasys

with access to the data to perform the contracted work; and (3) PowerPlan’s

vague claims about confidential information lacked veracity and were

insufficient. Nevertheless, PowerPlan responded with more direct threats and,

thus, Lucasys’ contract remains at risk.



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      56.   With each of these customers, PowerPlan asserted a reading of its

agreements with the utilities under which it has the exclusive right to restrict

who can access utilities’ data and threatened the customers with litigation if

they were to allow Lucasys access to the data. PowerPlan also directly or

implicitly threatened that it will cancel the software license agreements or

withhold support for customers who work with Lucasys.

      57.   As a result of PowerPlan’s unlawful interference with Lucasys’

contracts and business relationships, two of four of Lucasys’ major utility

customers terminated their relationships with Lucasys for fear of litigation

and other punitive measures; one of four reduced the scope of Lucasys’ contract

to exclude a substantial technology component (more substantial than all the

other contracts) such that Lucasys is impeded from developing technology that

competes with PowerPlan’s software; and one contract remains at risk.

      58.   Moreover, Lucasys learned from multiple sources in June and July

2020 that PowerPlan intends to send letters to all of its customers asserting,

falsely, that Lucasys is misappropriating PowerPlan’s trade secrets. Notably,

by telling certain Utility customers that PowerPlan is going to inform all utility

customers not to do business with Lucasys, PowerPlan is coordinating a

boycott of Lucasys among utilities. Regardless of whether PowerPlan sent the

letters or ends up sending the letters, by sharing with customers that it plans

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to do so, it is connecting the hubs in a hub-and-spoke conspiracy to boycott

Lucasys. Each can feel comfortable in not doing business with Lucasys,

knowing that other utilities are doing the same.

      59.   These actions have harmed Lucasys in multiple ways. Not only has

Lucasys lost revenue from the cancelled contracts and from future

opportunities with other customers, the cancelled contracts and foreclosed

future opportunities have also harmed Lucasys’ ability to develop innovative

software that can compete with PowerPlan’s legacy system. And PowerPlan’s

actions have threatened Lucasys’ ability to gain other utility customers.

      60.   Lucasys’ customer contracts help it develop that software in

several ways. They provide revenue that allow Lucasys to invest in research

and development efforts. They also provide Lucasys with information about

their customers’ needs and real-time data about what solutions are most

effective. Lucasys needs access to its customers’ data to develop software that

can effectively use the data to accomplish its customers’ business objectives.

Indeed, customers’ data is an important and powerful medium for customers

to communicate their complex business requirements to Lucasys, and access

to that data is required for Lucasys to design and develop solutions to meet

those requirements.



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      61.   PowerPlan, through its unlawful anticompetitive conduct, has

successfully blocked Lucasys’ ability to obtain sufficient scale to be able to

(1) implement a software solution in the Supplemental Management Services

market; and (2) enter the Utility Management Software market with a

competing software product. Indeed, through the same tactics, PowerPlan has

successfully stopped all similar software threats to its monopoly.

      62.   Software competition in the Supplemental Management Services

market is the most likely route for a potential competitor in the Utility

Management Software market to achieve sufficient scale to threaten

PowerPlan’s monopoly. Thus, PowerPlan’s modus operandi of allowing

consulting competition in the Supplemental Management Services market but

thwarting through anticompetitive conduct all software competition in that

market, effectively protects its monopoly in the Utility Management Software

market from competition or potential competition.

      63.   Absent PowerPlan’s anticompetitive conduct, Lucasys will fully

implement a software solution throughout the Supplemental Management

Services market, and then offer an alternative product—which doesn’t

currently exist—to customers in the Utility Management Software market.

Absent PowerPlan’s anticompetitive conduct, customers would ultimately pay

less for higher quality products in both markets.

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                          RELEVANT MARKETS

      64.   This case involves two distinct but related markets: (1) the Utility

Management Software Market; and (2) the Supplemental Management

Services Market. In addition, or alternatively, it also involves a Deferred Tax

Solutions Market.

               The Utility Management Software Market

      65.   To assist with management of their operations, nearly all investor-

owned rate-regulated utilities use software systems purpose-built for the

industry, i.e. Utility Management Software. Utility Management Software

allows utilities to store, access, analyze, and compute their data for various

operational, accounting, regulatory, and tax purposes related to fixed assets—

many of which are unique to the industry—along with supplemental solutions

necessary to perform these functions.

      66.   The rate-regulated utility industry is unique in that there are

specific data inputs, processes, and data outputs that relate to the asset-

intensive nature and highly regulated landscape of the industry.

      67.   For most investor-owned rate-regulated utilities, there is no

economically viable substitute for Utility Management Software. While a few

small-scale utilities can manage their operations without Utility Management

Software—generally through use of other accounting systems and manual

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professional services—these processes would be overly cumbersome and

expensive for all but the smallest utilities, who lack the data scale and

complexities of larger utilities. Accordingly, there is a cognizable market for

Utility Management Software, i.e. the Utility Management Software Market.

      68.   PowerPlan has monopoly power in the Utility Management

Software Market because 99% of investor-owned, rate-regulated utilities use

PowerPlan’s Utility Management Software, which is the only comprehensive,

full-suite product currently available in the Utility Management Software

Market, though Lucasys expects that, but for PowerPlan’s anticompetitive

conduct, it will develop and deploy competitive solutions that would allow

utilities the choice to replace their current PowerPlan system. Indeed, before

PowerPlan interfered, Lucasys’ contract with AEP included the development

of software that would potentially replace one module of PowerPlan’s Utility

Management Software. Lucasys has also demonstrated its deferred tax

software for other utilities as a replacement for a PowerPlan module.

      69.   There are high barriers to entry in the Utility Management

Software market. Not only will a new product require substantial resources to

develop, it will require deep understanding of utilities’ needs based on

experience and access to utilities’ real-time data to build and test the software.



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Thus, any competitor is likely to come from the Supplemental Management

Services market.

      70.    PowerPlan’s monopoly power is reinforced because utility

customers cannot freely switch to another Utility Management Software

provider—even if one were available—as it is enormously difficult and

disruptive for a utility to switch to a different system. These switching costs

include     substantial   implementation     costs,   information    technology

commitments and risks, disruptions and risks to business and accounting

processes, employee retraining, audit concerns and risks, regulatory concerns

and risks, all of which can have material consequences that substantially affect

the utilities’ financial position and business operations.

      71.    This issue is exacerbated by PowerPlan’s antiquated software

system, which does not and cannot interact with modern software systems

without customized interfaces requiring substantial time and effort to develop

and manual modifications to the data structure. To switch to a different Utility

Management Software provider and transfer its existing data, a customer

would need to develop or obtain these customized interfaces. Accordingly,

while PowerPlan’s offering in 1994 was a first-of-its-kind digital Utility

Management Software that enjoyed widespread adoption among utility



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customers, it is now handcuffing those same customers, who are effectively

locked-into an antiquated system.

      72.   Indeed, PowerPlan still has 99% market share over 25 years after

launching its product despite widespread customer dissatisfaction, which

demonstrates the extremely high switching costs and its monopoly power.

            The Supplemental Management Services Market

      73.   The conditions that have locked in and handcuffed utility

customers has long allowed PowerPlan to enjoy a monopoly in the Utility

Management Software Market, resting on its laurels without significant price

competition and other market forces that would require it to innovate and

improve the quality and functionality of its product to meet its customers’

evolving needs. When competition does arise, PowerPlan engages in

anticompetitive conduct to stop it, rather than providing a better product or

better prices. As a result, PowerPlan still provides fundamentally the same

legacy system as it introduced in 1994, which is host to significant data

management issues and which lacks necessary functionality to (1) maintain

utility data with the required accuracy, cleanliness, and integrity to meet

modern standards for various accounting, tax, and regulatory purposes, and

(2) to perform core accounting, tax, and regulatory functions that are now

routinely required of rate-regulated utilities.

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      74.     Thus, PowerPlan’s software alone cannot meet the data

management requirements for rate-regulated utilities. Just to make their data

useable for core processes, utilities must hire consultants every three to five

years, typically costing them hundreds of thousands or even millions of dollars,

and then use other software or services to perform certain core processes with

their data.

      75.     PowerPlan’s inadequacy was compounded by the 2017 Tax Cuts

and Jobs Act, which changed tax rates for rate-regulated utilities and,

ultimately, had significant rate case implications. Because rate-regulated

utilities’ rates are set through state and/or federal ratemaking processes that

utilize   a   cost-plus-reasonable-rate-of-return   formula,   rate   calculations

necessarily take tax costs including asset depreciation and deferred taxes into

account. State public utility commissions and the Federal Energy Regulatory

Commission each have developed their own set of rules, which means that

utilities require a dynamic solution based on operational, accounting, and rate-

making decisions that are being made in real time.

      76.     Thus, PowerPlan’s failure to evolve combined with its monopoly

power to exclude competition have spawned a second related market: the

Supplemental Management Services Market for aftermarket performance

management and data solutions.

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      77.   This market comprises the consulting services needed to perform

critical processes that PowerPlan’s Utility Management Software cannot

perform.

      78.   The Utility Management Software Market is currently distinct

from the Supplemental Management Services Market. Supplemental

Management Services cannot replace Utility Management Software and, at

least for the time being, no available Utility Management Software eliminates

the need for Supplemental Management Services. Utility customers must

purchase products and services from both markets.

      79.   Approximately ten firms provide Supplemental Management

Services, including PowerPlan itself, Regulated Capital Consultants, and

Lucasys, though their capabilities and areas of focus vary. Thus, competition

has naturally developed to solve these utility needs arising from tax and other

developments that have occurred since the 1980s.

      80.   In a response to a significant and non-temporary change of pricing

in the Supplemental Management Services Market, utilities would not have

any alternatives outside this market. There are no current products or options

in the Utility Management Software Market, for example, that would satisfy

the business and regulatory requirements for the utilities. And the

Supplemental Management Services Market encompasses the companies that

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provide these solutions, in the form of consulting and software. By the nature

of their businesses, these customers have no choice but to engage providers of

these supplemental products or services because they must follow extensive

regulations.

                     The Deferred Tax Solutions Market

      81.      In addition, or alternatively, there is a separate or sub-market

within the Supplemental Management Services Market for deferred tax

solutions for utilities (the “Deferred Tax Solutions Market”). This market

comprises consulting services to assist investor-owned rate-regulated utilities

with cleansing and remediating their data and implementing systems that

allow them to calculate tax positions associated with changes in the tax code

at scale.

      82.      Only three firms are capable of providing these specialized

services: PowerPlan, Regulated Capital Consultants, and Lucasys.

                         Relevant Geographic Market

      83.      Demand in the relevant markets is national, as substantially all

investor-owned, rate-regulated utilities in the United States require

performance management and data systems and supplemental solutions to

effectively meet their operational, accounting, tax, and regulatory obligations.

These customers can turn to companies anywhere in the United States to meet

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their needs. For regulatory reasons, these customers cannot practically turn to

companies outside of the United States to fulfill their requirements. Thus, the

geographic scope of the relevant markets is the United States.

               HARM TO PLAINTIFF AND COMPETITION

      84.   PowerPlan’s actions were intended to perpetuate its monopoly by

preventing its perceived emerging competitors from providing solutions to

utility customers in the marketplace. This has harmed competition in the

Utility Management Software Market because, as described above, PowerPlan

has 99% share in this market, and its conduct has severely curtailed Lucasys’

ability to develop a competing product and deprived utility customers of the

ability to use and access their data as they see fit.

      85.   PowerPlan’s actions also harmed competition in the Supplemental

Management Services Market and in the Deferred Tax Solutions Market by

depriving utility customers of a choice in obtaining services necessary to

perform core regulatory, tax, and accounting functions. By impeding

competition of Lucasys and others, PowerPlan creates confusion about what

service providers are available to utility customers and motivates the

customers to hire PowerPlan for Supplemental Management Services and thus

avoid the risk of their services providers being denied access to necessary data.



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The exclusion of such competitors also reduces output in these markets, which

in turn raises prices for utility customers.

      86.   In addition, as described above, PowerPlan has made threats that

have coerced three of four Lucasys customers to terminate or reduce the scope

of their contracts with Lucasys as their chosen provider, and the fourth

remains subject to coercive pressure from PowerPlan. But for these threats,

rate-regulated utilities would have a legitimate choice among suppliers of

Supplemental Management Services—including choices, like Lucasys, who

provide higher quality services and greater value to customers.

      87.   PowerPlan’s threats and other anticompetitive conduct has caused

rate-regulated utilities to obtain substantially fewer solutions from Lucasys

than they otherwise would have, including those services that were terminated

after PowerPlan’s threats as detailed above. Without PowerPlan’s actions,

Lucasys would have achieved sufficient economies of scale in developing its

technological solutions that would allow it to further reduce its prices and

improve its product and service offerings to rate-regulated utilities so it could

effectively compete in both the supplemental markets and, ultimately, the

Utility Management Software Market itself.

      88.   PowerPlan’s approach and strategy of allowing consulting

competition but blocking software competition in the Supplemental

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Management Services Market directly harms competition and consumers in

that market. That is, PowerPlan’s anticompetitive conduct against Lucasys

and other similar competitors that seek to offer a software solution directly

affects the Supplemental Management Services Market in the following ways:

(1) it reduces the choices available to utility customers by blocking and

precluding a software component to this aftermarket; (2) it raises prices in this

market because a software solution creates automation and efficiency and is a

lower-priced solution for utilities; and (3) it decreases the quality of products

and services for utility customers in this market because a software solution—

with or without consulting services—improves performance and capabilities in

this market through automation and customization. PowerPlan’s tactics

threaten to keep utility customers in the technology dark ages of the 1990s for

their utility-management needs. PowerPlan is using its monopoly power to

effectively stop innovation, so it can continue to collect supracompetitive

profits without investing into improving its product.

      89.   By using these illegal actions to maintain its monopoly in the

Utility Management Software Market and reduce competition in the

Supplemental Management Services Market and the Deferred Tax Solutions

Market, PowerPlan deprived customers of (1) a nascent competitor in a market

where it is the sole competitor, and (2) a competitive choice and the benefits of

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a lower-priced, higher-quality product in the Supplemental Management

Services Market and the Deferred Tax Solutions Market. These illegal actions

ultimately raise operating costs and reduce efficiency for investor-owned rate-

regulated utilities, which they pass on to end-consumer ratepayers.

                       INTERSTATE COMMERCE

      90.   PowerPlan’s anticompetitive conduct and monopolization affected

interstate commerce because PowerPlan offers and distributes its products and

services to customers throughout the United States, and because Lucasys

offers and distributes its products and services to customers throughout the

United States. PowerPlan’s revenue is more than $150 million annually.

      91.   AEP, for example, is a major investor-owned utility in the United

States and has operations delivering electricity to more than five million

customers in 11 U.S. states. PowerPlan’s conduct has increased operating costs

and reduced its efficiency, which in turn will necessarily be passed on to

customers in those 11 U.S. states who pay rates based on AEP’s costs.

                                  COUNT I

                    Monopolization (Negative Tying)
                             15 U.S.C. § 2

      92.   Plaintiff incorporates by reference the preceding allegations.




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      93.   PowerPlan has an approximately 99% share of the Utility

Management Software Market, giving it monopoly power in that market.

PowerPlan enjoys the power to raise prices or exclude competition.

      94.   The Utility Management Software Market has high barriers to

entry. Not only would entry require major capital investment, it would require

real-time and ongoing access to customer data. Moreover, utility customers

face extremely high switching costs that effectively lock them in.

      95.   PowerPlan    is   maintaining     its   monopoly   power   through

exclusionary tactics, including a negative tying arrangement involving Utility

Management Software and Supplemental Management Services.

      96.   Utility Management Software and Supplemental Management

Services are separate products and customers want the freedom to buy those

separate products from different suppliers.

      97.   PowerPlan entered into contracts with its customers that contain

de facto provisions that operate as negative tying arrangements by

conditioning the purchase and use of PowerPlan’s Utility Management

Software to an agreement not to purchase or use products in the Supplemental

Management Services Market (and/or Deferred Tax Solutions Market) that are

provided by PowerPlan’s perceived competitors. More specifically, PowerPlan

has told customers that they cannot purchase products or services of Lucasys

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and others because of the fact that they are perceived rivals in the Utility

Management Software Market. These provisions unreasonably restrict trade

or commerce in violation of Section 2 of the Sherman Act, 15 U.S.C. § 2, and

Section 4 of the Clayton Act, 15 U.S.C. § 15.

      98.   PowerPlan can impose these negative tying arrangements on

customers because of its monopoly power in the Utility Management Software

Market.

      99.   The negative tie affects a substantial volume of commerce—at

least $50 million of a total $100 million—in the Supplemental Management

Services Market (and/or the Deferred Tax Solutions Market) by restricting

Lucasys and other rivals from competing in the market.

      100. PowerPlan is using exclusionary tactics because Lucasys is a

potential competitor in the Utility Management Software Market and

PowerPlan wants to cripple Lucasys before it can enter that market. This

demonstrates PowerPlan’s willful intent to maintain its monopoly through

means other than a superior product, business acumen, or historic accident.

      101. There are no legitimate or procompetitive business reasons for

these acts other than to eliminate a potential competitor. PowerPlan’s actions

are intended to perpetuate its monopoly and destroy potential or emerging

competition in the Utility Management Software Market.

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      102. Through its negative tying arrangements, PowerPlan has injured

competition in the Supplemental Management Services Market (and/or

Deferred Tax Solutions Market), as further described in Paragraphs 85–89.

      103. As a proximate result of PowerPlan’s unlawful conduct, Lucasys

has suffered injury to its business or property in an amount to be proven at

trial and automatically trebled.

                                   COUNT II

                   Monopolization (Refusal to Supply)
                             15 U.S.C. § 2

      104. Plaintiff incorporates by reference the preceding allegations.

      105. PowerPlan has an approximately 99% share of the Utility

Management Software Market, giving it monopoly power in that market.

      106. The Utility Management Software Market has high barriers to

entry. Not only would entry require major capital investment, it would require

real-time and ongoing access to customer data. Moreover, utility customers

face extremely high switching costs that effectively lock them in.

      107. PowerPlan      is   maintaining    its   monopoly   power    through

exclusionary tactics, including refusals to supply customers with access to their

own data if those customers purchase Supplemental Management Services

(and/or Deferred Tax Solutions) from Lucasys. These tactics unreasonably


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restrict trade or commerce in violation of Section 2 of the Sherman Act, 15

U.S.C. § 2, and Section 4 of the Clayton Act, 15 U.S.C. § 15.

      108. PowerPlan is using exclusionary tactics because Lucasys is a

potential competitor in the Utility Management Software Market and

PowerPlan wants to cripple Lucasys before it can enter that market. This

demonstrates PowerPlan’s willful intent to maintain its monopoly through

means other than a superior product, business acumen, or historic accident.

      109. There are no legitimate or procompetitive business reasons for

these acts other than to eliminate a potential competitor. PowerPlan’s action

are intended to perpetuate its monopoly and destroy potential or emerging

competition in the Utility Management Software Market.

      110. By refusing to supply customers with access to their own data if

those customers purchase Supplemental Management Services from Lucasys,

PowerPlan has injured competition in both the Utility Management Software

Market and the Supplemental Management Services Market (and/or the

Deferred Tax Solutions Market) as further described in Paragraphs 84–89.

      111. As a proximate result of PowerPlan’s unlawful conduct, Lucasys

has suffered injury to its business or property in an amount to be proven at

trial and automatically trebled.



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                                 COUNT III

             Agreement to Restrain Trade (Negative Tying)
                             15 U.S.C. § 1

      112. Plaintiff incorporates by reference the preceding allegations.

      113. Utility Management Software and Supplemental Management

Services are separate products and customers want the freedom to buy those

separate products from different suppliers.

      114. PowerPlan entered into contracts with rate-regulated utility

customers that contain de facto provisions that operate as negative tying

arrangements by conditioning the purchase and use of PowerPlan’s utility

management software system to an agreement not to purchase or use products

in the Supplemental Management Services Market that are provided by

PowerPlan’s perceived competitors. These provisions unreasonably restrict

trade or commerce in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1,

and Section 4 of the Clayton Act, 15 U.S.C. § 15.

      115. PowerPlan can only impose these negative tying arrangements on

customers because it has appreciable market power in the Utility Management

Software Market.

      116. The negative tie affects a substantial volume of commerce—at

least $50 million of a total $100 million—in the Supplemental Management


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Services Market and/or the Deferred Tax Solutions Market by restricting

Lucasys and other rivals from competing in the market.

      117. Through its negative tying arrangements, PowerPlan has injured

competition in the Supplemental Management Services Market, as further

described in Paragraphs 85–89.

      118. As a proximate result of PowerPlan’s unlawful conduct, Lucasys

has suffered injury to its business or property in an amount to be proven at

trial and automatically trebled.

                                   COUNT IV

      Agreement to Restrain Trade (Concerted Refusal to Deal)
                           15 U.S.C. § 1

      119. Plaintiff incorporates by reference the preceding allegations.

      120. PowerPlan entered into and engaged in a contract, combination, or

conspiracy in unreasonable restraint of trade in violation of Section 1 of the

Sherman Act by coercing the agreement of PowerPlan customers, including

NextEra, AEP, and Liberty Utilities, not to do business with Lucasys.

      121. PowerPlan’s parallel agreements with the utility customers

substantially foreclosed competition in the relevant markets. The market has

been harmed by depriving customers seeking alternatives to PowerPlan’s

offerings and necessary Supplemental Management Services of meaningful


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competition, which in turn has forced them to pay supracompetitive prices

while receiving lower quality solutions. PowerPlan has operated as the hub, in

a series of hub-and-spoke agreements, requiring the parties not to do business

with Lucasys.

      122. By entering into these agreements, PowerPlan has injured

competition in both the Utility Management Software Market and the

Supplemental Management Services Market (and/or the Deferred Tax

Solutions Market) as further described in Paragraphs 84–89.

      123. As a proximate result of these agreements, Lucasys has suffered

injury to its business or property in an amount to be proven at trial and

automatically trebled.

                                  COUNT V

           Agreement to Restrain Trade (Exclusive Dealing)
                            15 U.S.C. § 1

      124. Plaintiff incorporates by reference the preceding allegations.

      125. PowerPlan entered into contracts with its customers that contain

de facto exclusive dealing provisions that unreasonably restrict trade or

commerce in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1, and

Section 4 of the Clayton Act, 15 U.S.C. § 15.




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      126. PowerPlan interprets its customer contracts to prevent customers

from permitting third-party vendors like Lucasys to access the customers’ data

without PowerPlan’s express or implied permission.

      127. PowerPlan can impose this restriction on customers because of its

market power in the Utility Management Software market.

      128. PowerPlan’s vertical restraints are unlawful because they have led

to increased prices and reduced output in both the Utility Management

Software Market and the Supplemental Management Services Market (and/or

the Deferred Tax Solutions Market).

      129. Through its exclusive dealing provisions, PowerPlan has injured

competition in both the Utility Management Software Market and the

Supplemental Management Services Market (and/or the Deferred Tax

Solutions Market), as further described in Paragraphs 84–89.

      130. PowerPlan’s exclusive dealing provisions do not enhance efficiency

or competition in any market. On the contrary, the agreements have produced

only anticompetitive effects.

      131. As a proximate result of these agreements, Lucasys has suffered

injury to its business or property in an amount to be proven at trial and

automatically trebled.



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                                 COUNT VI

                        Deceptive Trade Practices
                           O.C.G.A. § 10-1-373

      132. Plaintiff incorporates by reference the preceding allegations.

      133. PowerPlan     has   engaged      in   deceptive   trade practices   by

disparaging Lucasys’ services and business by false or misleading

representations of fact, and causing confusion and/or misunderstanding of

Lucasys’ services.

      134. PowerPlan is causing confusion to Lucasys’ customers by falsely

representing that (1) PowerPlan has protectable trade secrets in its software,

services, and processes; and (2) that Lucasys is or will misappropriate those

trade secrets if Lucasys’ customers continue doing business with Lucasys or

that Lucasys has already misappropriated PowerPlan’s trade secrets and

included those trade secrets in Lucasys’ product and services.

      135. These deceptive trade practices have caused current and potential

Lucasys customers to cease doing business with Lucasys and to be diverted to

PowerPlan or provide more business to PowerPlan with Lucasys no longer a

competitor.




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      136. Customers in the utilities marketplace are confused and

misunderstand whether PowerPlan has protectable trade secrets that Lucasys

is improperly using and whether they can or should do business with Lucasys.

      137. Many customers believe that they may be subject to litigation if

they work with Lucasys while also using PowerPlan’s services or that Lucasys

has already misappropriated PowerPlan’s trade secrets.

      138. Lucasys is entitled to injunctive relief against PowerPlan pursuant

to O.C.G.A. § 10-1-373.

      139. Additionally, since PowerPlan has willingly engaged in a trade

practice that it knows to be deceptive, Lucasys is allowed to recover its

attorneys’ fees and costs for pursuing its claim and punitive damages under

O.C.G.A. § 10-1-373.

                                 Count VII

                   Tortious Interference with Contract
                          Georgia Common Law

      140. Plaintiff incorporates by reference the preceding allegations.

      141. PowerPlan acted improperly and without privilege when it

contacted Lucasys’ customers or potential customers, that PowerPlan knew

Lucasys had contracted or planned to contract with to provide services, to

(1) threaten   Lucasys’ customers or potential customers if they continued


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business with Lucasys in any capacity by aiding and abetting Lucasys’ alleged

misappropriation of trade secrets, and (2) incorrectly stating or implying that

Lucasys misappropriated PowerPlan’s confidential trade secrets.

      142. PowerPlan acted purposely and with malice to injure Lucasys in

PowerPlan’s effort to curtail competition with PowerPlan and have Lucasys’

customers cease doing business with Lucasys based on the false information

PowerPlan disseminated.

      143. PowerPlan’s actions caused Lucasys’ customers that Lucasys

already had a contractual relationship with to cease doing business with

Lucasys and caused potential customers to not enter into anticipated contracts

for Lucasys’ services.

      144. PowerPlan is a stranger to all of the actual or potential Lucasys

contracts that it interfered with as PowerPlan is not a party to the contract, is

a stranger to the business relationship between Lucasys and its customer, and

PowerPlan is not a beneficiary to any such contract that it interfered with.

      145. Lucasys was injured financially by losing revenue from each

customer or potential customer that ceased doing business with Lucasys

because of PowerPlan’s improper conduct.        Lucasys is entitled to recover

damages in an amount to be determined at trial.



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                                 Count VIII

                  Malicious Interference with Business
                         Georgia Common Law

      146. Plaintiff incorporates by reference the preceding allegations.

      147. PowerPlan has intentionally interfered with Lucasys’ business to

cause injury to Lucasys, specifically to put Lucasys out of business.

      148. PowerPlan’s actions have caused harm to Lucasys’ business,

including the loss of customers and its reputation.

      149. PowerPlan knows that Lucasys has the right to lawfully conduct

its business in competition with PowerPlan, yet PowerPlan has intentionally

and maliciously interfered with Lucasys’ rights.

      150. Lucasys was injured financially by losing revenue from each

customer or potential customer that ceased doing business with Lucasys

because of PowerPlan’s improper conduct.       Lucasys is entitled to recover

damages in an amount to be determined at trial.

                                  Count IX

                            Defamation Per Se
                           Georgia Common Law

      151. Plaintiff incorporates by reference the preceding allegations.

      152. PowerPlan published and disseminated false and defamatory

statements to third parties with the purpose of damaging Lucasys.


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      153. These false and defamatory statements include false assertions

that Lucasys misappropriated or intended to misappropriate PowerPlan’s

confidential trade secrets, which could cause Lucasys’ customers to be held

liable for misappropriation of PowerPlan’s trade secrets if they continued to do

business with Lucasys.

      154. Such statements were made with the intent to injure Lucasys.

These statements constitute defamation per se under Georgia law.

      155. PowerPlan’s statement were intended to and did cause injury to

Lucasys’ business reputation.

      156. As a direct and proximate result of PowerPlan’s false and

defamatory statements, Lucasys has been damaged.

                                   Count X

                               Defamation
                           Georgia Common Law

      157. Plaintiff incorporates by reference the preceding allegations.

      158. PowerPlan has made false, defamatory statements about Lucasys

to third parties by asserting that Lucasys misappropriated or intended to

misappropriate PowerPlan’s confidential trade secrets, which could also cause

Lucasys’ customers to be held liable for misappropriation of PowerPlan’s trade




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secrets if they continued to do business with Lucasys. Such statements were

made with the intent to injure Lucasys.

      159. PowerPlan made the false and defamatory statements with

malicious intent to harm Lucasys.

      160. As a proximate result of PowerPlan’s conduct, Lucasys has

suffered substantial and irreparable damage to its reputation and is entitled

to recover from PowerPlan.

                          REQUEST FOR RELIEF

      WHEREFORE, Lucasys requests that this Court:

      A.     Declare that PowerPlan’s conduct violates 15 U.S.C. §§ 1 and 2;

      B.     Declare that PowerPlan’s conduct violates applicable state law;

      C.     Enter judgment against PowerPlan;

      D.     Award Lucasys treble antitrust damages, as provided in 15 U.S.C.

§ 15, in an amount to be determined at trial, but not less than $47 million;

      E.     Award Lucasys actual damages for its state law claims;

      F.     Award Lucasys pre- and post-judgment interest at the applicable

rates on all amounts awarded, as provided in 15 U.S.C. § 15 and applicable

state law;




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      G.      Award Lucasys its costs and expenses of this action, including its

reasonable attorney’s fees necessarily incurred in bringing and pressing this

case, as provided in 15 U.S.C. §§ 15 and 26;

      H.      Grant permanent injunctive relief to prevent the recurrence of the

violations for which redress is sought in this complaint; and

      I.      Order any other such relief as the Court deems appropriate.

                         DEMAND FOR JURY TRIAL

      Plaintiff Lucasys hereby demands a trial by jury on all claims.


      Respectfully submitted this 17th day of July, 2020

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